 
            Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



    UMG RECORDINGS, INC., CAPITOL                §
    RECORDS, LLC, WARNER BROS.                   §
    RECORDS INC., SONY MUSIC                     §
    ENTERTAINMENT, ARISTA                        §
    RECORDS LLC, ARISTA MUSIC,                   §
    ATLANTIC RECORDING                           §
    CORPORATION, CAPITOL                         §
    CHRISTIAN MUSIC GROUP, INC.,                 §
    ELEKTRA ENTERTAINMENT GROUP                  §
    INC., FONOVISA, INC., FUELED BY              §
                                                 §                       Civil Action No. 1:17-cv-365-LY
    RAMEN LLC, LAFACE RECORDS
    LLC, NONESUCH RECORDS INC.,                  §
                                                 §                       Jury Trial Demanded
    RHINO ENTERTAINMENT
    COMPANY, ROADRUNNER                          §
    RECORDS, INC., ROC-A-FELLA                   §
    RECORDS, LLC, TOOTH & NAIL, LLC,             §
    and ZOMBA RECORDING LLC,                     §
                                                 §
            Plaintiffs,                          §
                                                 §
    vs.                                          §
                                                 §
    GRANDE COMMUNICATIONS                        §
    NETWORKS LLC                                 §
    and                                          §
    PATRIOT MEDIA CONSULTING, LLC                §
                                                 §
            Defendants



          PLAINTIFFS’ DESIGNATION OF POTENTIAL WITNESSES, TESTIFYING
                        EXPERTS, AND PROPOSED EXHIBITS

          Pursuant to the Court’s Scheduling Order [Dkt. 66] as extended by the parties’ agreements,

Plaintiffs submit their designation of potential witnesses, testifying experts, and proposed exhibits.




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          Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 2 of 8



    A. Potential Witnesses

       Identified below are those persons and/or entities whom or which Plaintiffs presently believe

Plaintiffs may call as witnesses at trial, either by deposition or in person:

    1. Christopher Sabec
    2. Greg Boswell
    3. Aaron Harrison
    4. Jason Gallien
    5. Alasdair McMullan
    6. Jeff Walker
    7. Neil Carfora
    8. Wade Leak
    9. Jon Glass
    10. Matt Flott
    11. Steven Poltorak
    12. Matt Rohre
    13. Lamar Horton
    14. Lars Christianson
    15. Colin Bloch
    16. Stephanie Christianson
    17. Robert Creel
    18. Robert Fogle
    19. Bruce Jongeneel
    20. Grande Rule 30(b)(6) Witness(es)
    21. Patriot Rule 30(b)(6) Witness(es)
    22. Recording Industry of America Association (“RIAA”) Rule 30(b)(6) Witness(es)
    23. Rightscorp Rule 30(b)(6) Witness(es)

       This identification is without prejudice to any of Plaintiffs’ arguments regarding the

admissibility of evidence. In addition, Plaintiffs reserve the right to call any persons or entities

identified in Defendants’ Initial Disclosures (and any supplements thereto); any persons or entities
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          Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 3 of 8



identified in any party’s discovery responses; and any person or entity deposed in this action.

Further, Plaintiffs reserve the right to question and/or present deposition testimony from any and all

witnesses Defendants call. The parties are continuing to depose witnesses and Plaintiffs await

additional documents and discovery responses from Defendants, including those on which Plaintiffs

have a pending motion to compel. Therefore, Plaintiffs reserve the right to amend or supplement

their identification of potential witnesses. Plaintiffs will submit their trial witness list in accordance

with the deadlines in the Local Rules and this Court’s Scheduling Order.

    B. Expert Witnesses

       Plaintiffs designate the following expert witnesses:

    1. Dr. William Lehr (Massachusetts Institute of Technology, 32 Vassar Street (32-G814)

       Cambridge, MA 02139)

       Dr. Lehr is an economist and damages expert. He will provide testimony on the harm caused

by copyright infringement and the economic benefit to Grande from allowing copyright infringement

on its network. His opinions and the information required under Fed. R. Civ. P. 26(a)(2)(B) are set

forth in an accompanying expert report being served on Grande separately.

    2. Dr. Terrence McGarty (24 Woodbine Road, Florham Park, NJ 07932)

       Dr. McGarty is an expert in internet service provider (ISP) systems and technology. He will

provide expert testimony on the capabilities of Grande’s internet service system and Grande’s

response to notices of copyright infringement. His opinions and the information required under Fed.

R. Civ. P. 26(a)(2)(B) are set forth in an accompanying expert report being served on Grande

separately.

    3. Dr. Andy Bardwell (4801 W. Yale Ave., Denver CO, 80219)

       Dr. Bardwell is a statistics expert. He will provide expert testimony on the Rightscorp

system and the extent to which data from the Rightscorp system reflects repeat copyright

                                                    3
 
          Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 4 of 8



infringement by Grande’s subscribers. His opinions and the information required under Fed. R. Civ.

P. 26(a)(2)(B) are set forth in an accompanying expert report being served on Grande separately.

    4. Barbara Frederiksen-Cross (850 NW Summit Avenue, Portland, OR 97210-2816)1

       Ms. Frederiksen-Cross is a software expert. She will provide expert testimony on the

Rightscorp system and its capabilities. Her opinions and the information required under Fed. R. Civ.

P. 26(a)(2)(B) are set forth in an accompanying expert report being served on Grande separately.

    5. Counsel for Plaintiffs

       Some or all of Plaintiffs’ counsel, including Daniel Bitting, Paige Amstutz, Jonathan

Missner, Robert Gilmore, and Philip O’Beirne, may provide expert testimony on the reasonableness

and necessity of Plaintiffs’ attorneys’ fees in this case. These witnesses are not required to provide a

report under Fed. R. Civ. P. 26(a)(2)(B) because they are not retained or specially employed to

provide expert testimony.

                                           *       *       *

       In addition, Plaintiffs reserve the right to designate rebuttal experts, and serve disclosures for

such rebuttal experts, in response to Defendant’s designation of experts, and will do so in accordance

with the Federal Rules of Civil Procedure, the Local Rules, and this Court’s Scheduling Order.

Furthermore, the parties are continuing to depose witnesses and Plaintiffs await additional

documents and discovery responses from Defendants, including those on which Plaintiffs have a

pending motion to compel. Therefore, Plaintiffs reserve the right to amend or supplement their

designations of expert witnesses, and those experts reserve their rights to amend or supplement their

expert reports, in accordance with the Federal Rules and the Local Rules.




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  The dates for designating Ms. Frederiksen-Cross, as well as Defendants’ corresponding expert on
the same subject-matter, were extended by agreement of the parties.
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           Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 5 of 8



    C. Potential Exhibits

       Identified below are potential exhibits Plaintiffs may introduce at trial:

          Rightscorp notices of infringement sent to Grande, downloaded sample infringed files,

           and other evidence produced by Rightscorp reflecting infringement on Grande’s system;

          Evidence produced by RIAA reflecting infringement on Grande’s system;

          Documents produced by Plaintiffs evidencing ownership of the works in suit;

          Exhibits introduced during the depositions of witnesses in this case;

          Plaintiffs’ experts’ reports (including any rebuttal reports), and exhibits and documents

           cited therein;

          Written discovery responses and documents cited therein;

          Records from Grande’s internal abuse and customer service systems;

          Documents and data evidencing Grande’s and Patriot’s financial condition, including their

           assets, revenues and profits;

          Documents reflecting or evidencing Grande’s policies, procedures regarding copyright

           infringement;

          Documents reflecting or evidencing Patriot’s role in formulating and implementing

           Grande’s policies and procedures regarding copyright infringement

          Documents reflecting or evidencing Grande’s failure to reasonably implement a repeat

           infringer policy

          Documents reflecting or evidencing Grande’s knowledge of copyright infringement

           occurring through the use of its internet service;

          Documents reflecting or evidencing Grande’s facilitating of copyright infringement

           occurring through the use of its internet service;

                                                   5
 
             Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 6 of 8



            Documents reflecting or evidencing Grande’s ability to control copyright infringement

             occurring through the use of its internet service;

            Documents reflecting or evidencing the direct financial benefit Grande receives from

             allowing copyright infringement to occur through the use of its internet service; and

            Other documents produced by Grande and Patriot, by Plaintiffs, or by non-parties.

         This designation of potential exhibits at trial is without prejudice to any of Plaintiffs’

arguments regarding the admissibility of evidence. The parties are continuing to depose witnesses

and Plaintiffs await additional documents and discovery responses from Defendants, including those

on which Plaintiffs have a pending motion to compel. Therefore, Plaintiffs reserve the right to

amend or supplement their designation of proposed exhibits. Plaintiffs will submit their trial exhibit

list in accordance with the deadline provided for in the Local Rules and this Court’s Scheduling

Order.

    Dated: July 30, 2018                        Respectfully submitted,


                                         By:   /s/ Philip J. O’Beirne
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                                                Jonathan E. Missner (admitted pro hac vice)
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                                                     6
 
    Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 7 of 8



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                                    7
 
              Case 1:17-cv-00365-LY Document 126 Filed 07/30/18 Page 8 of 8



                                     CERTIFICATE OF SERVICE

           It is hereby certified that a true copy of the foregoing was filed and served on counsel of

    record via the Court’s ECF system on this 30th day of July, 2018.

    Dated: July 30, 2018

                                                         /s/    Daniel C. Bitting
